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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Toho Co., Ltd., et al.
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:24−cv−04006
                                                                        Honorable Matthew
                                                                        F. Kennelly
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 26, 2024:


        MINUTE entry before the Honorable Matthew F. Kennelly: In person preliminary
injunction hearing held on 6/26/2024. Plaintiff's counsel reported that all defendants are
either covered by the preliminary injunction or have been dismissed. The preliminary
injunction hearing set for 7/22/2024 is vacated. The case is set for a telephonic status
hearing on 9/6/2024 at 9:00 a.m. The deadline to file a motion for default judgment is
8/30/2024. The following call−in number will be used for the hearing: 650−479−3207;
access code 980−394−33. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice. (mma, )




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